              Case 1:17-cv-06546-AKH Document 40 Filed 05/11/18 Page 1 of 1
                                                        USDC SO.\J\'
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                                                                        ELECTRONICALLY FU           r ,
 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK                                          DOC#;_ _ _         =tn-Aor .
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 VEREIT, Inc.,
                                                                    ORDER REGULATING
                                        Plaintiff,                  DISCOVERY
               -against-
                                                                    17 Civ. 6546 (AKH)
 NICHOLAS S. SCHORSCH, PETER M. BUDKO,
 WILLIAM M. KAHANE, AND EDWARD M.
 WEIL,

                                        Defendants.

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ALVIN K. HELLERSTEIN, U.S.D.J.:

                  On May 11, 2018, the Court held an on-the-record status conference to regulate

jurisdictional discovery in this case. Upon further consideration, the Court modifies the order

given orally in Court. The following will be the order:

         1.       Interrogatories shall be served by May 25, 2018. Responses are due June 8, 2018.

         2.       Defendants shall be permitted to conduct two depositions of persons who know

                  all the affairs of the company and manage all respects of those affairs.

         3.       All jurisdictional discovery, including depositions, shall be complete by July 13,

                  2018.

         4.       The Court will hold a status conference on July 20, 2018 at 10:00 a.m. to chart

                  further progress in the case and set a motion schedule, if necessary.



                  SO ORDERED.

Dated:            May    /fzo18
                  New   ¥c;r~~ New York
                                                            United States District Judge
